             Case 4:22-cv-05183-KAW Document 64-3 Filed 05/02/24 Page 1 of 2



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 7                                 UNITED STATES DISTRICT COURT

                                NORTHERN DISTRICT OF CALIFORNIA
 8
                                           OAKLAND DIVISION
 9

10 J.R.G., et al.,                                      )     CASE NO. 4:22-cv-05183-KAW
                                                        )
                                                        )
11           Plaintiffs,                                )
                                                        )   [PROPOSED] ORDER GRANTING
12      v.                                              )   PLAINTIFFS’ UNOPPOSED MOTION
                                                        )   TO APPROVE SETTLEMENT
13 UNITED STATES OF AMERICA,                            )   INVOLVING CLAIMS OF A MINOR
        Defendant.                                      )
                                                        )
14                                                      )
15
             Upon consideration of Plaintiffs’ Unopposed Motion to Approve Settlement Involving
16
     Claims of a Minor, and finding that the settlement is fair and reasonable as to M.A.R. and that
17
     there is good cause, the motion is GRANTED, and IT IS FURTHER ORDERED that:
18

19                   (a) Plaintiff J.R.G. is hereby authorized to sign the final settlement agreement on

20                   behalf of her child, M.A.R.;
                     (b) Defendant will deposit the total settlement amount agreed upon of $300,000, in
21
                     Counsel for Plaintiffs, The Law Office of Julianna Rivera P.C.’s IOLTA account;
22
                     (c) Each Plaintiff is entitled to half of the settlement amount, $150,000, less the
23
                     attorneys’ fee of $37, 500;
24

     [PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOT. TO APPROVE SETTLEMENT
     INVOLVING CLAIMS OF A MINOR
     CASE NO. 4:22-CV-05183-KAW
                  Case 4:22-cv-05183-KAW Document 64-3 Filed 05/02/24 Page 2 of 2



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                          (d) For Plaintiff M.A.R., The Law Office of Julianna Rivera, P.C. is directed to
 2                        deposit $112,500.00, in a blocked account in Plaintiff M.A.R.’s name with the
 3                        Chase Bank; and

 4                        (e) On her eighteenth birthday, M.A.R. is entitled to withdraw any and all funds
                          from her account as she desires, including any and all interest that accrued to the
 5
                          account.
 6

 7
     It is so ORDERED.
 8

 9                DATED: ____________
                                                               HON. KANDIS A. WESTMORE
10                                                             United States Magistrate Judge
11

12 Presented on this 2nd day of May, 2024 by:

13
            LAW OFFICE OF JULIANNA RIVERA
14
             /s/ Julianna Rivera
15          Julianna Rivera Maul

16          NORTHWEST IMMIGRANT RIGHTS
            PROJECT
17
             /s/ Matt Adams1
18          Matt Adams
            Aaron Korthuis
19          Glenda M. Aldana Madrid
            Leila Kang
20
            Counsel for Plaintiffs
21

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         In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of perjury that all
24 signatories have concurred in the filing of this document.

     [PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOT. TO APPROVE SETTLEMENT
     INVOLVING CLAIMS OF A MINOR
     CASE NO. 4:22-CV-05183-KAW
